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                                                    U.S. Department of Justice


                                                    United States Attorney
                                                    Eastern District of New York
NR/EDP                                              271 Cadman Plaza East
F. #2018R02250                                      Brooklyn, New York 11201




                                                    March 24, 2021


By Hand Delivery and ECF

Tor Ekeland
Tor Ekeland Law PLLC
30 Wall Street, 8th Floor
New York, NY 10005
tor@torekeland.com

               Re:    United States v. Douglass Mackey
                      Criminal Docket No. 21-80 (NGG)

Dear Mr. Ekeland:

               Enclosed please find the discovery from the government in accordance with Rule
16 of the Federal Rules of Criminal Procedure. The materials are provided on the attached
thumb drive. The government also requests reciprocal discovery from the defendant.

I.     The Government’s Discovery

       A.      Statements of the Defendant

               Enclosed please find the following: investigative reports containing statements of
the defendant, bearing Bates numbers GOV-MACKEY-00000011-13, and recordings containing
statements of the defendant, located in folders bearing Bates numbers GOV-MACKEY-
00000043-53.

               Enclosed please find materials provided by Twitter in connection with search
warrants. These materials relate to the following Twitter accounts, contained in folders bearing
the following Bates numbers: @Ricky_Vaughn99, GOV-MACKEY-00000014 and GOV-
MACKEY-00000030; @TheRickyVaughn, GOV-MACKEY-00000016 and GOV-MACKEY-
00000031; VRichard1776, GOV-MACKEY-00000017; and @ReturnofRV, GOV-MACKEY-
00000039.
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              Enclosed please find materials provided by Facebook relating to the Facebook
account DeplorableVaughn, contained in the folder bearing Bates number GOV-MACKEY-
00000041.

             Enclosed please find materials provided by Gmail relating to the Gmail account
Rickyvaughniv@gmail.com, contained in the folder bearing Bates number GOV-MACKEY-
00000042.

       B.      The Defendant’s Criminal History

         Enclosed please find the defendant’s criminal history, bearing Bates numbers
GOV-MACKEY-00000001-10.

       C.      Documents and Tangible Objects

               Enclosed please find additional materials provided by Twitter in connection with
search warrants, contained in the folders bearing Bates numbers GOV-MACKEY-00000018-29
and GOV-MACKEY-00000032-38. You may examine the physical evidence discoverable under
Rule 16, including original documents, by calling me to arrange a mutually convenient time.

       D.      Reports of Examinations and Tests

              The government will provide you with copies of any additional reports of
examinations or tests in this case as they become available.

       E.      Expert Witnesses

                 The government will comply with Fed. R. Crim. P. 16(a)(1)(G) and Fed. R. Evid.
702, 703 and 705 and notify you in a timely fashion of any expert that the government intends to
call at trial and provide you with a summary of the expert’s opinion. The identity, qualifications,
and bases for the conclusions of each expert will be provided to you when they become
available.

       F.      Brady Material

              The government is not aware of any exculpatory material regarding the defendant.
The government understands and will comply with its continuing obligation to produce
exculpatory material as defined by Brady v. Maryland, 373 U.S. 83 (1963), and its progeny.

               Before trial, the government will furnish materials discoverable pursuant to Title
18, United States Code, Section 3500, as well as impeachment materials. See Giglio v. United
States, 405 U.S. 150 (1972).

       G.      Other Crimes, Wrongs or Acts

                  The government will provide the defendant with reasonable notice in advance of
trial if it intends to offer any material under Fed. R. Evid. 404(b).

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II.    The Defendant’s Required Disclosures

                The government hereby requests reciprocal discovery under Rule 16(b) of the
Federal Rules of Criminal Procedure. The government requests that the defendant allow
inspection and copying of (1) any books, papers, documents, data, photographs, tapes, tangible
objects, or copies or portions thereof, that are in the defendant’s possession, custody or control,
and that the defendant intends to introduce as evidence or otherwise rely on at trial, and (2) any
results or reports of physical or mental examinations and of scientific tests or experiments made
in connection with this case, or copies thereof, that are in the defendant’s possession, custody or
control, and that the defendant intends to introduce as evidence or otherwise rely upon at trial, or
that were prepared by a witness whom the defendant intends to call at trial.

              The government also requests that the defendant disclose prior statements of
witnesses who will be called by the defendant to testify. See Fed. R. Crim. P. 26.2. In order to
avoid unnecessary delays, the government requests that the defendant have copies of those
statements available for production to the government no later than the commencement of trial.

               The government also requests that the defendant disclose a written summary of
testimony that the defendant intends to use as evidence at trial under Rules 702, 703, and 705 of
the Federal Rules of Evidence. The summary should describe the opinions of the witnesses, the
bases and reasons for the opinions, and the qualification of the witnesses.

                Pursuant to Fed. R. Crim. P. 12.3, the government hereby demands written notice
of the defendant’s intention, if any, to claim a defense of actual or believed exercise of public
authority, and also demands the names and addresses of the witnesses upon whom the defendant
intends to rely in establishing the defense identified in any such notice.

III.   Future Discussions

                If you have any questions or requests regarding further discovery or a disposition
of this matter, please do not hesitate to contact me.

                Please be advised that, pursuant to the policy of the Office concerning plea offers
and negotiations, no plea offer is effective unless and until made in writing and signed by
authorized representatives of the Office. In particular, any discussion regarding the pretrial
disposition of a matter that is not reduced to writing and signed by authorized representatives of




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the Office cannot and does not constitute a “formal offer” or a “plea offer,” as those terms are
used in Lafler v. Cooper, 132 S. Ct. 1376 (2012), and Missouri v. Frye, 132 S. Ct. 1399 (2012).

                                                    Very truly yours,

                                                    MARK J. LESKO
                                                    Acting United States Attorney

                                             By:     /s/ Erik D. Paulsen
                                                    Erik D. Paulsen
                                                    Assistant U.S. Attorney
                                                    (718) 254-6135

Enclosures

cc:    Clerk of the Court (NGG) (by ECF) (without enclosures)




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                                                    U.S. Department of Justice


                                                    United States Attorney
                                                    Eastern District of New York
NR/EDP                                              271 Cadman Plaza East
F. #2018R02250                                      Brooklyn, New York 11201




                                                    June 4, 2021


By Email and ECF

Tor Ekeland
Tor Ekeland Law PLLC
30 Wall Street, 8th Floor
New York, NY 10005
tor@torekeland.com

               Re:    United States v. Douglass Mackey
                      Criminal Docket No. 21-80 (NGG)

Dear Mr. Ekeland:

              Enclosed please find the government’s discovery in accordance with Rule 16 of
the Federal Rules of Criminal Procedure. The materials are provided on the attached thumb
drive. The government also requests reciprocal discovery from the defendant.

I.      The Government’s Discovery

        A.     Documents and Tangible Objects

               Enclosed please find the following materials obtained pursuant to grand jury
subpoena in this matter:

     1. Records obtained from AT&T, Bates No. GOV-MACKEY-00000054-00001461;
     2. Records obtained from BMO Harris Bank, Bates No. GOV-MACKEY-00001462-
        00001478;
     3. Records obtained from Capital One., Bates No. GOV-MACKEY-00001479-00001657;
     4. Records obtained from Charles Schwab Corp., Bates No. GOV-MACKEY-00001658-
        00001691;
     5. Records obtained from Charter Communications, Bates No. GOV-MACKEY-00001692-
        00001698;
     6. Records obtained from Citibank, Bates No. GOV-MACKEY-00001699-00001712;
     7. Records obtained from Comcast, Bates No. GOV-MACKEY-00001713-00001715;
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  8. Records obtained from Digital Ocean LLC, Bates No. GOV-MACKEY-00001716-
      00001744;
  9. Records obtained from Discover Bank; Bates No. GOV-MACKEY-00001745-
      00001790;
  10. Records obtained from Experian, Bates No. GOV-MACKEY-00001791-00001793;
  11. Records obtained from Facebook, Bates No. GOV-MACKEY-00001794-00001808;
  12. Records obtained from GigeNET, Bates No. GOV-MACKEY-00001809-00001810;
  13. Records obtained from Google, Bates No, GOV- MACKEY-00001811-00001824;
  14. Records obtained from Hosting Services, Bates No, GOV-MACKEY-00001825;
  15. Records obtained from John Dunham & Associates, Bates No, GOV-MACKEY-
      00001826-00001928;
  16. Records obtained from J.P. Morgan Chase, Bates No, GOV-MACKEY-00001929-
      00002283;
  17. Records obtained from Lexington Avenue Realty Corp., Bates No, GOV-MACKEY-
      00002284-00002371;
  18. Records obtained from Mail.com, Bates No, GOV-MACKEY-00002372-00002381;
  19. Records obtained from Microsoft (Outlook), Bates No, GOV-MACKEY-00002401-
      00002407;
  20. Records obtained from Middlebury Corp., Bates No, GOV-MACKEY-00002382-
      00002389;
  21. Records obtained from Namecheap, Bates No, GOV-MACKEY-00002390-00002400;
  22. Records obtained from Spotify, Bates No, GOV-MACKEY-00002408;
  23. Records obtained from Sprint, Bates No, GOV-MACKEY-00002409-00002416;
  24. Records obtained from SuperNetwork SRO, Bates No, GOV-MACKEY-00002417;
  25. Records obtained from TD Bank, Bates No, GOV-MACKEY-00002418-00002457;
  26. Records obtained from T-Mobile, Bates No, GOV-MACKEY-00002458-00002552;
  27. Records obtained from Twitter, Bates No, GOV-MACKEY-00002573-00002578;
  28. Records obtained from University of Memphis, Bates No, GOV-MACKEY-00002579-
      00002580;
  29. Records obtained from Verizon and Verizon Fios, Bates No, GOV-MACKEY-00002581-
      00002748;
  30. Records obtained from Windstream Communications, Bates No, GOV-MACKEY-
      00002749;
  31. Additional records obtained from T-Mobile, Bates No, GOV-MACKEY-00002750-
      00002757;
  32. Additional records obtained from AT&T, Bates No, GOV-MACKEY-00002758;
  33. Records obtained from the New York State Department of Motor Vehicles, Bates No,
      GOV-MACKEY-00002759 – 00002761; and
  34. Records obtained from the New York State Board of Elections, Bates No, GOV-
      MACKEY-00002762-00002831.

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Please do not hesitate to contact me with any questions regarding the above materials.




                                                    Very truly yours,

                                                    MARK J. LESKO
                                                    Acting United States Attorney

                                             By:     /s/ Nathan Reilly
                                                    Nathan Reilly
                                                    Assistant U.S. Attorney
                                                    (718) 254-6196

Enclosures

cc:    Clerk of the Court (NGG) (by ECF) (without enclosures)




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Case 1:21-cr-00080-AMD Document 22 Filed 11/03/21 Page 8 of 15 PageID #: 122


                                                    U.S. Department of Justice


                                                    United States Attorney
                                                    Eastern District of New York
EDP                                                 271 Cadman Plaza East
F. #2018R02250                                      Brooklyn, New York 11201




                                                    July 21, 2021


By Email, ECF, and Hand Delivery

Tor Ekeland
Tor Ekeland Law PLLC
30 Wall Street, 8th Floor
New York, NY 10005
tor@torekeland.com

               Re:     United States v. Douglass Mackey
                       Criminal Docket No. 21-80 (NGG)

Dear Mr. Ekeland:

                 Enclosed please find the government’s discovery in accordance with Rule 16 of
the Federal Rules of Criminal Procedure. A portion of the materials will be provided by
electronic file transfer to members of your office, and the remainder will be produced on three
physical disks to be hand-delivered to you at your home or office. The government also requests
reciprocal discovery from the defendant.

I.      The Government’s Discovery

        A.     Documents and Tangible Objects

               Enclosed please find the following materials:

     1. Documents related to a search warrant application dated on or about April 15, 2019,
        bearing Bates numbers GOV-MACKEY-00002919 – GOV-MACKEY-00002952;
     2. Documents relating to materials obtained from the April 15, 2019 search warrant, bearing
        Bates numbers GOV-MACKEY-00003099 - GOV-MACKEY-00003121 (including three
        DVDs provided in hard copy);
     3. Documents related to a search warrant application dated on or about November 22, 2019,
        bearing Bates numbers GOV-MACKEY-00002953 – GOV-MACKEY-00003003;
     4. Documents related to a search warrant application dated on or about October 2, 2020,
        bearing Bates numbers GOV-MACKEY-00003004 - GOV-MACKEY-00003044;
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      5. Documents relating to materials obtained from the October 2, 2020 search warrant,
          bearing Bates number GOV-MACKEY-00000040;
      6. Documents related to a search warrant application dated on or about December 2, 2020,
          bearing Bates numbers GOV-MACKEY-00003045 - GOV-MACKEY-00003098;
      7. Documents relating to a pen register application dated on or about December 12, 2018,
          bearing Bates numbers GOV-MACKEY-00002762 - GOV-MACKEY-00002775;
      8. Documents related to a 2703(d) order dated on or about January 18, 2019, bearing Bates
          numbers GOV-MACKEY-00002776 - GOV-MACKEY-00002802;
      9. Documents related to a 2703(d) order dated on or about August 19, 2019, bearing Bates
          numbers GOV-MACKEY-00002803 - GOV-MACKEY-00002846;
      10. Documents related to a 2703(d) order dated on or about June 22, 2020, bearing Bates
          numbers GOV-MACKEY-00002847 - GOV-MACKEY-00002875; and
      11. Documents relating to a prospective cell cite application register dated on or about
          January 25, 2021, bearing Bates numbers GOV-MACKEY-00002876 - GOV-MACKEY-
          00002918.

Please do not hesitate to contact me with any questions regarding the above materials.

                                                    Very truly yours,

                                                    JACQUELINE M. KASULIS
                                                    Acting United States Attorney

                                             By:     /s/ Erik Paulsen
                                                    Erik Paulsen
                                                    Assistant U.S. Attorney
                                                    (718) 254-6135

Enclosures

cc:      Clerk of the Court (NGG) (by ECF) (without enclosures)




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                                                    U.S. Department of Justice


                                                    United States Attorney
                                                    Eastern District of New York
EDP                                                 271 Cadman Plaza East
F. #2018R02250                                      Brooklyn, New York 11201




                                                    August 26, 2021


By Email, ECF, and Hand Delivery

Tor Ekeland
Tor Ekeland Law PLLC
30 Wall Street, 8th Floor
New York, NY 10005
tor@torekeland.com

               Re:    United States v. Douglass Mackey
                      Criminal Docket No. 21-80 (NGG)

Dear Mr. Ekeland:

              Enclosed please find the government’s discovery in accordance with Rule 16 of
the Federal Rules of Criminal Procedure. The government also requests reciprocal discovery
from the defendant.

I.      The Government’s Discovery

        A.     Documents and Tangible Objects

               Enclosed please find the following materials, which are provided as five load files
that include natives and tiffs, among other information:

     1. Documents deemed responsive to the search warrant application dated on or about
        November 22, 2019 (Bates numbers GOV-MACKEY-00002953-3003). These
        documents relate to the Ricky_Vaughn99 Twitter account, and bear Bates number GOV-
        MACKEY-00003122;

     2. Documents deemed responsive to the search warrant application dated on or about
        November 22, 2019. These documents relate to the TheRickyVaughn Twitter account,
        and bear Bates numbers GOV-MACKEY-00003123;
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      3. Documents deemed responsive to the search warrant application dated on or about
         November 22, 2019. These documents relate to the 1080p Twitter account, and bear
         Bates number GOV-MACKEY-00003126;

      4. Documents deemed responsive to the search warrant application dated on or about
         November 22, 2019. These documents relate to the Rabite Twitter account, and bear
         Bates number GOV-MACKEY-00003125; and

      5. Documents deemed responsive to the search warrant application dated on or about
         October 2, 2020 (Bates numbers GOV-MACKEY-00003004-3044). These documents
         relate to the ReturnofRV Twitter account, and bear Bates number GOV-MACKEY-
         00003124.

Please do not hesitate to contact me with any questions regarding the above materials.

                                                    Very truly yours,

                                                    JACQUELINE M. KASULIS
                                                    Acting United States Attorney

                                             By:     /s/ Erik Paulsen
                                                    Erik Paulsen
                                                    Assistant U.S. Attorney
                                                    (718) 254-6135

Enclosures

cc:      Clerk of the Court (NGG) (by ECF) (without enclosures)




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Case 1:21-cr-00080-AMD Document 22 Filed 11/03/21 Page 12 of 15 PageID #: 126


                                                     U.S. Department of Justice


                                                     United States Attorney
                                                     Eastern District of New York
EDP                                                  271 Cadman Plaza East
F. #2018R02250                                       Brooklyn, New York 11201




                                                     August 26, 2021


By Email, ECF, and Hand Delivery

Tor Ekeland
Tor Ekeland Law PLLC
30 Wall Street, 8th Floor
New York, NY 10005
tor@torekeland.com

                Re:    United States v. Douglass Mackey
                       Criminal Docket No. 21-80 (NGG)

Dear Mr. Ekeland:

              Enclosed please find the government’s discovery in accordance with Rule 16 of
the Federal Rules of Criminal Procedure. The government also requests reciprocal discovery
from the defendant.

I.      The Government’s Discovery

        A.      Documents and Tangible Objects

                Enclosed please find the following materials:

     1. Documents related to a search warrant application dated on or about April 1, 2021,
        bearing Bates numbers GOV-MACKEY-00003132-57; and

     2. Materials provided by Twitter in response to the above-referenced warrant, and to
        supplement previous warrant requests. These materials include the following: documents
        concerning engagement data of certain tweets by the defendant (GOV-MACKEY-
        00003130); materials concerning retweets of certain tweets by the defendant (GOV-
        MACKEY-00003131); and materials concerning enforcement actions relating to
        individual accounts subject to previous search warrants (GOV-MACKEY-00003127-29).
Case 1:21-cr-00080-AMD Document 22 Filed 11/03/21 Page 13 of 15 PageID #: 127




Please do not hesitate to contact me with any questions regarding the above materials.

                                                    Very truly yours,

                                                    JACQUELINE M. KASULIS
                                                    Acting United States Attorney

                                             By:     /s/ Erik Paulsen
                                                    Erik Paulsen
                                                    Assistant U.S. Attorney
                                                    (718) 254-6135

Enclosures

cc:    Clerk of the Court (NGG) (by ECF) (without enclosures)




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Case 1:21-cr-00080-AMD Document 22 Filed 11/03/21 Page 14 of 15 PageID #: 128


                                                    U.S. Department of Justice


                                                    United States Attorney
                                                    Eastern District of New York
EDP                                                 271 Cadman Plaza East
F. #2018R02250                                      Brooklyn, New York 11201




                                                    November 3, 2021


By Email, ECF, and Hand Delivery

Tor Ekeland
Tor Ekeland Law PLLC
30 Wall Street, 8th Floor
New York, NY 10005
tor@torekeland.com

               Re:     United States v. Douglass Mackey
                       Criminal Docket No. 21-80 (NGG)

Dear Mr. Ekeland:

              Enclosed please find the government’s discovery in accordance with Rule 16 of
the Federal Rules of Criminal Procedure. The government also requests reciprocal discovery
from the defendant.

I.      The Government’s Discovery

        A.     Documents and Tangible Objects

               Enclosed please find the following materials:

     1. Documents related to a 2703(d) order dated on or about October 23, 2020, bearing Bates
        numbers GOV-MACKEY-00003158 – GOV-MACKEY-00003171;

     2. A screenshot of a text exchange, bearing Bates number GOV-MACKEY-00003172;

     3. Documents indicating numbers that contacted the 59925 Text Code, bearing Bates
        numbers GOV-MACKEY-00003173 – GOV-MACKEY-00003280 and GOV-
        MACKEY-00003288; and

     4. Screenshots of Twitter activity, bearing Bates numbers GOV-MACKEY-00003281 –
        gov-mackey-00003287.
Case 1:21-cr-00080-AMD Document 22 Filed 11/03/21 Page 15 of 15 PageID #: 129




              Please do not hesitate to contact me with any questions regarding the above
materials.

                                                   Very truly yours,

                                                   BREON PEACE
                                                   United States Attorney

                                           By:      /s/ Erik Paulsen
                                                   Erik Paulsen
                                                   Assistant U.S. Attorney
                                                   (718) 254-6135

Enclosures

cc:    Clerk of the Court (NGG) (by ECF) (without enclosures)




                                               2
